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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


 K.W., by his next friend D.W., et al.,          Case No. 1:12-cv-00022-BLW
                                                 (lead case)
                      Plaintiffs,
                                                 ORDER
     v.

 RICHARD ARMSTRONG, in his official
 capacity as Director of the Idaho
 Department of Health and Welfare; PAUL
 LEARY, in his official capacity as
 Medicaid Administrator of the Idaho
 Department of Health and Welfare; and the
 IDAHO DEPARTMENT OF HEALTH
 AND WELFARE, a department of the
 State of Idaho,

                      Defendants.

TOBY SCHULTZ, et al.
         Plaintiffs,
     v.                                        Case No. 3:12-CV-58-BLW
RICHARD ARMSTRONG, et al.,
         Defendants.


      Finding good cause therefore, and pursuant to agreement of the parties,

      NOW THEREFORE IT IS HEREBY ORDERED, that the Joint Motion to

Amend/Correct Class Action Settlement Agreement (docket no. 335) is GRANTED.

      IT IS FURTHER ORDERED, that the Class Action Settlement Agreement (docket

no. 306-1) is hereby AMENDED such that Sections V.B.5.a and b are amended
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consistent with the terms and agreements set forth in Exhibit A (docket no. 335-1), fully

incorporated herein by reference.

      IT IS FURTHER ORDERED, that the proposed Notice (docket no. 335-2), and

the proposed process for mailing the Notice, are APPROVED. The Notice shall state that

any objections must be mailed on or before March 31, 2018, and that the Court will hold

a hearing on any objections on April 23, 2018, at 11:00 a.m. in the Federal Courthouse –

in Courtroom #3 of Chief Judge B. Lynn Winmill – in Boise, Idaho.




                                                DATED: February 15, 2018


                                                _________________________
                                                B. Lynn Winmill
                                                Chief U.S. District Court Judge
